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                     UNITED STATE DISTRICT COURT
                          DISTRICT OF IDAHO

PLANNED PARENTHOOD GREAT NORTH-
WEST, HAWAII, ALASKA, INDIANA, KEN-             Case No. 1:23-cv-00142-BLW
TUCKY, on behalf of itself, its staff, physi-
cians and patients, et al.,                     OPPOSITION TO PLAIN-
               Plaintiffs,                      TIFFS’ MOTION TO STRIKE
                                                [Dkt. 122]
v.

RAÚL LABRADOR, in his capacity as the At-
torney General of the State of Idaho, et al.,
               Defendants.




                                  OPPOSITION TO PLAINTIFFS’ MOTION TO STRIKE – 1
        Case 1:23-cv-00142-BLW Document 126 Filed 05/05/23 Page 2 of 4




      The Court should deny Plaintiffs’ motion to strike. Although the local rules

require a motion for leave to file for supplemental factual material proffered in sup-

port of a party’s substantive contentions, Defendants properly proffered these decla-

rations by notice because they relate to a matter of mandatory, rather than discre-

tionary, consideration by the Court: the Court’s subject matter jurisdiction. Arbaugh

v. Y & H Corp., 546 U.S. 500, 514 (2006) (citation omitted); Ex parte McCardle, 74

U.S. (7 Wall.) 506, 514 (1868).

      Because the Court has an “independent obligation” to determine its jurisdic-

tion, see Arbaugh, 546 U.S. at 514, and that obligation applies at every stage of pro-

ceedings, see TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2208 (2021), it is neces-

sary for the Court to consider these declarations that cast doubt on whether this case

presents a justiciable controversy. And because of that sua sponte duty, materials

that call the court’s jurisdiction into question are never untimely and never

waived. Nevertheless, to the extent the Court determines that the local rules apply,

the Court should construe Defendants’ notices of supplemental declarations as mo-

tions for leave to file, which it should grant for the reasons above.

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                                     OPPOSITION TO PLAINTIFFS’ MOTION TO STRIKE – 2
       Case 1:23-cv-00142-BLW Document 126 Filed 05/05/23 Page 3 of 4




      DATED: May 5, 2023.

                                     STATE OF IDAHO
                                     OFFICE OF THE ATTORNEY GENERAL


                                  By:   /s/ Lincoln Davis Wilson
                                         LINCOLN DAVIS WILSON
                                         Chief, Civil Litigation and
                                         Constitutional Defense
                                         BRIAN V. CHURCH
                                         TIMOTHY LONGFIELD
                                         Deputy Attorneys General

                                          Attorneys for Defendants Attorney
                                          General Raúl Labrador and Certain
                                          County Prosecuting Attorneys 1




1
 Jan Bennetts, Ada County Prosecutor; Chris Boyd, Adams County Prosecutor; Ste-
phen Herzog, Bannock County Prosecutor; Mariah Dunham, Benewah County Pros-
ecutor; Paul Rogers, Bingham County Prosecutor; Matt Fredback, Blaine County
Prosecutor; Alex Gross, Boise County Prosecutor; Louis Marshall, Bonner County
Prosecutor; Randy Neal, Bonneville County Prosecutor; Andrakay Pluid, Boundary
County Prosecutor; Jim Thomas, Camas County Prosecutor; McCord Larsen, Cassia
County Prosecutor; Janna Birch, Clark County; E. Clayne, Clearwater County Pros-
ecutor; Vic Pearson, Franklin County Prosecutor; Lindsay Blake, Fremont County
Prosecutor; Erick Thomson, Gem County Prosecutor; Trevor Misseldine, Gooding
County Prosecutor; Kirk MacGregor, Idaho County Prosecutor; Mark Taylor, Jeffer-
son County Prosecutor; Brad Calbo, Jerome County Prosecutor; Stanley Mortensen,
Kootenai County Prosecutor; Bill Thompson, Latah County Prosecutor; Bruce With-
ers, Lemhi County Prosecutor; Zachary Pall, Lewis County Prosecutor; Rob Wood,
Madison County Prosecutor; Lance Stevenson, Minidoka County Prosecutor; Cody
Brower, Oneida County Prosecutor; Chris Topmiller, Owyhee County Prosecutor;
Mike Duke, Payette County Prosecutor; Benjamin Allen, Shoshone County Prosecu-
tor; Bailey Smith, Teton Valley County Prosecutor; Grant Loebs, Twin Falls County
Prosecutor; Brian Naugle, Valley County Prosecutor; and Delton Walker, Washing-
ton County Prosecutor.




                                  OPPOSITION TO PLAINTIFFS’ MOTION TO STRIKE – 3
       Case 1:23-cv-00142-BLW Document 126 Filed 05/05/23 Page 4 of 4




                          CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on May 5, 2023, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF system which sent a Notice of Electronic
Filing to the following persons:

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                                            /s/ Lincoln Davis Wilson
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                                            tional Defense




                                    OPPOSITION TO PLAINTIFFS’ MOTION TO STRIKE – 4
